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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                )
UNITED STATES OF AMERICA,                       )
                                                )
              v.                                )
                                                )
MARIIA BUTINA, a/k/a,                           )       Criminal Action No. 18-cr-218 (TSC)
MARIA BUTINA                                    )
                                                )
Defendant.                                      )
                                                )


                                             ORDER
       Upon consideration of the parties’ Joint Motion to Continue Status Conference, ECF No.

44, it is hereby ORDERED that the Status Conference and Motions Schedule, which were set at

a status conference on September 10, 2018, are hereby VACATED. It is FURTHER ORDERED

that the parties shall appear for a status conference before this court on December 6, 2018 at 11:00

a.m.

       It is FURTHER ORDERED that any dispositive motions are due by November 16, 2018.

Any responses are due by November 30, 2018, and any replies are due by December 3, 2018. It

is FURTHER ORDERED that time between the date of this Order and December 6, 2018 shall

be excluded from calculation under the Speedy Trial Act, 18 U.S.C. § 3161. For the reasons stated

at the hearing on September 10, 2018, including the complex nature of this case, the court finds

that the ends of justice served by this continuance outweigh the best interests of the public and the

defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A) & (B)(ii).



Date: October 26, 2018

                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge


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